     Case 1:16-cv-00481-JTN-ESC ECF No. 5 filed 07/07/16 PageID.36 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                       IN THE WESTERN DISTRICT OF MICHIGAN

In the matter of:

ANDREW COREY and
CATHERINE TUBERGEN,
On Behalf of Themselves
and All Others Similarly Situated

               Plaintiff,                                     Case No. 1:16-cv-00481
v.                                                            Hon. Janet T. Neff

MONEY RECOVERY NATIONWIDE assumed name
of NATIONWIDE COLLECTION AGENCIES, INC.,

               Defendant(s).

___________________________________________________________________________/


                                    NOTICE OF DISMISSAL

        Now come the Plaintiffs Andrew Corey and Catherine Tubergen (“Plaintiffs”) by and

through their attorneys, the Law Offices of Nicholas A. Reyna P.C., and Co-Counsel, The Law

Offices of Brian P. Parker, PC on behalf of the Plaintiffs and all others similarly situated against

Money Recovery Nationwide, assumed name of Nationwide Collection Agencies, Inc.

(“Defendant”), and hereby state the following:

        THEREFORE, the Plaintiffs agree through counsel of record pursuant to Federal Rule of

Civil Procedure 41(a)(1) to dismiss the above-captioned matter with prejudice against the

Defendant. The dismissal completely terminates the above-entitled action against the Defendant.

                                              LAW OFFICES OF BRIAN P. PARKER, P.C.

                                              /s/Brian P. Parker______________
                                              Brian P. Parker (P48617)
DATED: July 7, 2016                           Attorney for Plaintiffs and the Proposed Class
                                              Members



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                                   LAW OFFICES OF NICHOLAS A. REYNA, P.C.

                                   /s/ Nicholas A. Reyna___________
DATED: July 7, 2016                NICHOLAS A. REYNA (P68328)
                                   Attorney for Plaintiff and the Proposed Class
                                   Members




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